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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                              Plaintiffs,
       v.                                            Civil Action No. DKC 22-2597

FEDERAL HIGHWAY
ADMINISTRATION, et al.,


                              Defendants.

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                              Plaintiff,             Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY
ADMINISTRATION, et al.,

                              Defendants.

      JOINT MOTION TO EXTEND DEADLINE FOR FILING JOINT APPENDIX

       The Parties in the above-captioned cases have completed briefing on their cross-motions

for summary judgment. Under the Court’s briefing schedule, the Parties must file a Joint

Appendix containing those portions of the Administrative Record cited in their cross-motions by

October 18, 2023. ECF No. 44.

       The Parties jointly request that the Court extend the October 18 deadline to file the Joint

Appendix until October 30, 2023. Good cause supports this request. Since summary judgment

briefing completed, the Parties have conferred and exchanged proposed lists regarding the

contents of the Joint Appendix. The Parties have also requested a status conference to seek the

Court’s preferences regarding their submission of the Joint Appendix. The Parties’ proposed
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extension would allow time for a status conference to be scheduled (should the Court decide to

hold such a conference) and for the Parties to compile and submit the Joint Appendix pursuant to

the Court’s instructions.



Respectfully Submitted,

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